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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION



    UNITED STATES OF AMERICA

    v.                                               Case No. 8:05-cr-389-T-23TBM

    JAMES DORSEY
    SANDRA AVERY
                                              /

                                           ORDER

          Defendant James Dorsey filed a motion to suppress evidence and for a Franks

    hearing (Doc. 61), as supplemented (Doc. 65), and a second motion to suppress and for

    a Franks hearing (Doc. 83), as supplemented (Doc. 126). Defendant Sandra Avery

    joins in the motions. The United States opposes the motions (Docs. 66, 96). Upon

    referral (Doc. 109), United States Magistrate Judge Thoms B. McCoun conducted a

    hearing on the matter and issued a report recommending denial of the motions

    (Doc. 140). No party filed objections to Judge McCoun's report and recommendation.

          Having independently considered the filings, the report and recommendation is

    ADOPTED, and the defendants' motions to suppress (Docs. 61, 65, 83, 126) are

    DENIED.

          ORDERED in Tampa, Florida, on April 18, 2006.
